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                                                        6   KRISTINE ATOYAN

                                                        7

                                                        8                               IN THE UNITED STATES DISTRICT COURT

                                                        9                         FOR THE EASTERN DISTRICT OF CALIFORNIA

                                                       10

                                                       11   UNITED STATES OF AMERICA,                          Case No. 2:11-CR-00467-JAM

                                                       12                  Plaintiff,
B ARTH T OZER & D AL Y LLP




                                                                                                               STIPULATION AND ORDER
                        S ACRAMENTO , C AL I FORNI A




                                                       13            v.
                            A TTORNE YS A T L AW




                                                       14   ZHORA DARMOYAN,                                    Date: August 7, 2012
                                                            MARAT GALOYAN,                                     Time: 9:45 a.m.
                                                       15   MARTIN ATOYAN and,                                 Judge: Honorable John A. Mendez
                                                            KRISTINE ATOYAN,
                                                       16
                                                                           Defendants.
                                                       17

                                                       18                  It is hereby stipulated and agreed to between the United States of America through

                                                       19   Steve Lapham, Assistant U.S. Attorney, and defendants Zhora Darmoyan, through his counsel,

                                                       20   Dwight Samual, Marat Galoyan, through his counsel Chris Hadyn-Myer, Martin Atoyan, through

                                                       21   his counsel J. Toney, and Kristine Atoyan, through her counsel, Kresta Nora Daly, that the status

                                                       22   conference on August 7, 2012 be vacated and that a status conference be set for October 16, 2012

                                                       23   at 9:45 a.m.

                                                       24                  The continuance is being requested because defense counsel is reviewing

                                                       25   discovery and the parties are actively engaged in plea negotiations.

                                                       26   ///

                                                       27   ///

                                                       28   ///



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                              The parties request that speedy trial time be excluded from the date of this order

               through the date of the status conference set for October 16, 2012 pursuant to Title 18, United

               States Code Section 3161(h)(8)(B)(iv) [reasonable time to prepare] (Local Code T4).

               Dated: August 3, 2012.                 Respectfully submitted,


                                                      By     /s/ Kresta Nora Daly
                                                             DWIGHT SAMUAL
                                                       Attorney for ZHORA DARMOYAN




               Dated: August 3, 2012.                 By     /s/ Kresta Nora Daly
                                                             CHRIS HADYN-MYER
                                                      Attorney for MARAT GALOYAN



               Dated: August 3, 2012.                 By     /s/ Kresta Nora Daly
                                                             J. TONEY
                                                      Attorney for MARTIN ATOYAN



               Dated: August 3, 2012.                 BARTH TOZER & DALY LLP


                                                      By     /s/ Kresta Nora Daly
                                                             KRESTA NORA DALY
                                                       Attorneys for KRISTINE ATOYAN



               Dated: August 3, 2012.                 By       /s/ Kresta Nora Daly
                                                               STEVE LAPHAM
                                                               Assistant United States Attorney



                                                             ORDER

                              IT IS SO ORDERED.

               Dated: 8/3/2012
                                                         /s/ John A. Mendez_______________________
                                                         HONORABLE JOHN A. MENDEZ
                                                         UNITED STATES DISTRICT COURT JUDGE



               {00006868}
                                            OPPOSITION TO MOTION FOR APPOINTMENT OF RECEIVER


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